                           Taylor T. Smith
         Case 2:19-cv-02874-SVW-MAA
                 Woodrow & Peluso, LLC Document 21 Filed 05/30/19 Page 1 of 4 Page ID #:100
                  3900 E. Mexico Ave., Suite 300
                     Denver, Colorado 80210



                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA

 Lee Wigod, et a!.,                                                          CASE NUMBER

                                                          Plaintiff(s),                          2: 19-cv-02874-SVW-MAA
                  v.
                                                                               APPLICATION OF NON-RESIDENT ATTORNEY
 CaUFire, Inc.,                                                                      TO APPEAR IN A SPECIFIC CASE
                                                        Defendant(s),                       PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
    Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s}, to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's CM/ECF System ("Motions and Related Filings
    => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order (using
    Form G-64 ORDER, available from the Court's website), and pay the required $400 fee online at the time offiling (using a credit card).
    The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time offiling will be grounds for
    denying the Application. Out-of-state federal government attorneys are not required to pay the $400 fee. (Certain attorneys for the
    United States are also exempt from the requirement of applyingfor pro hac vice status. See L.R. 83-2.1.4') A copy of the G-64 ORDER in
    Word or WordPerfect format must be em ailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
 Smith, TaylorT.
Applicant's Name (Last Name, First Name & Middle Initial)                                            check here iffederal government attorney 0
 Woodrow & Peluso, LLC
Firm/Agency Name
 3900 E. Mexico Ave.                                                      720-907-7628                             303-927-0809
 Suite 300                                                                Telephone Number                        Fax Number
Street Address
 Denver, Colorado 80210                                                                        tsmith@woodrowpeluso.com
 City, State, Zip Code                                                                                E-mail Address

I have been retained to represent the following parties:
 Lee Wigod                                                                I!I Plaintifj(s) 0   Defendant(s}   0   Other:
                                                                                                                           -----------------
                                                                          o Plaintiff(s) 0     Defendant(s)   0   Other:
                                                                                                                           -----------------
 Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

             Name of Court                                Date of Admission            Active Member in Good Standing? Of not, please explain)
 Supreme Court of Colorado                                  10/30/2017                Yes
 U.S. District for the District of Colorado                  11/20/2017               Yes
 U.S. District for the E.D. of Michigan                      11/28/2017               Yes
List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):
           Case 2:19-cv-02874-SVW-MAA Document 21 Filed 05/30/19 Page 2 of 4 Page ID #:101
       Case Number                                     Title ofAction                             Date oJA/21Zlication       Granted / Denied?
 19-cv-00098                              Benitez v. Powerline Funding LLC                       112112019                 Granted
 18-ev-03893                                    Munoz v. 7-Eleven, Inc.                          5/15/2018                 Granted
 18-ev-03886                                 Imamura v. Eaton Corporation                        5/15/2018                 Granted
 18-cv-017S3                                     Herrera v. Soothe, Inc.                         10/1/2018                 Granted



If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:




Has the applicant previously registered as a CM/ECF user in the Central District of California?            00   Yes      D    No
If yes, was the applicant's CM/ECF User account associated with the e-mail address provided above?         00   Yes      D    No


                                                                                                Previous E-mail Used (if applicable)

Attorneys must be registered for the Court's Case Management/Electronic Case Filing ("CM/ECF'J System to be admitted to practice pro hac
vice in this Court. Submission of this Application will constitute your registration (or re-registration) as a CM/ECF User. If the Court signs an
Order granting your Application, you will either be issued a new CM/ECF login and password, or the existing account you identified above
will be associated with your case.



          SECTION II - CERTIFICATION

          I declare under penalty of perjury that:

          (1) All of the above information is true and correct.
          (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in substantial business,
              professional, or other activities in the State of California.
          (3) I am not currently suspended from and have never been disbarred from practice in any court.
          (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and Criminal Procedure,
               and the Federal Rules of Evidence.
          (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar of this Court and
               maintains an office in the Central District of California for the practice oflaw, as local counsel pursuant to Local
               Rule 83-2.1.3.4.

             Dated 5/30/2019                                            Taylor T. Smith




                                                                        Applicant's Signature
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             5/31/19
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                                                                                                            .,
             STATE OF COLORADO,            55:


                   I,   Cheryl Stevens                     Clerk of the Supreme Court of the State of

             Colorado, do hereby certify lhal


                                  Taylor True Smith
             has been duly licensed and admitted lo practice as an


                   cATTORNEY AND COUNSELOR AT J:AW

            within this Slate; and that his/her name appears upon the Roll of A tlorneys
                                                                                               th
            and Counselors at Law in my office             0/ date the   _ _ _ _ _ _30
                                                                                     _ _ _ __

            day 01_ _October
                     _ _ _ _ _ _ _ _ A. D. _ _2017
                                               _ and thai at the dale hereof

            lhesaid _ _ _ _~_a_y_Io_r_T<_ru_e_S_nl_i_th______________

            is in good standing al this Bar.


                                   IN WITNESS WHEREOF, I have hereunto subscribed my name and
                                   affixed the Seal of said Supreme Court, at Denver, in said State, this
                                                      th
                                                 30                         May                     A. D.2019
                                   - - - - - ' - - day of-

                                                                         Cheryl Stevens

                                       BY---",==F:~~-=-----                                    _Clerk

                                                       ~                                       Deputy Clerk
